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                         UNITED STATES DISTRICT COURT
                                District of Minnesota
                           Criminal No. 23-CR-0007 (DSD)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    GOVERNMENT’S REPLY TO
                v.                                  DEFENDANT’S POSITION ON
                                                         SENTENCING
 RIVER WILLIAM SMITH,

                      Defendant.


       The United States of America, through its attorneys, Andrew M. Luger, United

States Attorney for the District of Minnesota, and Assistant United States Attorney Andrew

R. Winter, respectfully submits this reply to Defendant’s Position on Sentencing at ECF

Doc. 91. Among several arguments in his memorandum, Defendant challenges the denial

of the “acceptance of responsibility” adjustment under U.S.S.G. § 3E1.1, disputes the two-

level enhancement for “three or more” firearms under U.S.S.G. § 2K2.1, and opposes an

upward departure under U.S.S.G. § 5K2.0(a)(1)(A). The government responds to each of

these below.

       1. Application of U.S.S.G. § 3E1.1

       “The key issue is whether the defendant has shown ‘a recognition and affirmative

responsibility for the offense and sincere remorse.” United States v. Nguyen, 52 F.3d 192,

194 (8th Cir. 1995) (quoting United States v. Knight, 905 F.2d 189, 192 (8th Cir. 1990)).

The government maintains that a 3-level downward adjustment for acceptance of

responsibility is not warranted in this unique case. In response to information set forth in
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the PSR concerning Defendant’s post-plea behavior, he argues that he has “calmed down”

since receiving medications in August of 2023. See Defendant’s Position on Sentencing at

ECF, Doc. 91, p. 10. Belying this claim are a multitude of recorded jail calls occurring after

August of 2023 in which he issues veiled threats of retaliation in the event he is dissatisfied

in his sentencing. For example, on September 18, 2023, Defendant spoke to his mother and

threatened, "if I have to do 120 [months], they have my word that I won't leave this country.

It'll be settled right here.” This continued on September 23, 2023 when he spoke to his

grandmother: “give me seven years and I promise you, you'll find out why I did go to that

range that much and why I took that so seriously. Cause it's the one skill that helps deal

with little fuckin' cocksuckers like that." On October 16, 2023, Defendant lamented that

shooting his enemies would be “too good for them. It almost needs to be worse than that.

And I don't know how you make it worse than that. Put' em [indiscernible] of Molotov

cocktails on them.”

       2. U.S.S.G. § 2K2.1 (number of firearms)

       Defendant objects to the two level enhancement for the number of firearms involved

in the offense. ECF, Doc. 91, ps. 18-21. The government relies upon its argument in its

previously filed sentencing memorandum. See Government’s Position on Sentencing at

ECF Doc. 87, ps. 11-12.

       3. U.S.S.G. § 4A1.3 (inadequacy of criminal history category)

       Defendant argues that the nature of his criminal history does not merit an upward

departure under § 4A1.3. ECF Doc. 91, ps. 22-24. Defendant’s argument focuses on the
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types of information cited within the text of § 4A1.3 that are not present (or present to a

lesser extent) in this case. He ignores the fact that this list – by its own terms – is not

exclusive (“[t]he information described in subsection (a)(1) may include information

concerning the following... (emphasis added)). See U.S.S.G. § 4A1.3(a)(2). The

government’s focus is not on the “seriousness of the defendant’s criminal history” but

rather on the overarching standard set forth in U.S.S.G. § 4A1.3(a)(1), specifically “if

reliable     information    indicates     that    the    defendant’s       criminal   history

category…underrepresents the likelihood that the defendant will commit other crimes, an

upward departure may be warranted”. His juvenile offense history combined with all of the

facts and circumstances in his current case suggest that a Category I Criminal History

indeed underrepresents the likelihood that Defendant will commit other crimes.

       5. § 3553(a) Factors

       The need to avoid unwarranted sentence disparities is but one of several factors for

this Court to consider. While the government recognizes that the requested sentence goes

beyond the advisory guidelines range and is longer than many sentences imposed for a

violation of 18 U.S.C. § 922(o), there can be no unwarranted disparity in an above-

guideline sentence here when all of the circumstances of this case are given due

consideration. Given the extreme danger presented by this defendant, any disparity

between this sentence and others in the District is, in fact, warranted.

       Defendant relies heavily upon a report from his own psychologist in support of a

downward variance. One of his arguments posits that the defendant was “vulnerable to

being influenced by the government informants.” ECF 91, p. 11. Whether or not Defendant
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was vulnerable, he had an extensive pre-existing infatuation with firearms and violence

and he commonly espoused hateful rhetoric. The following are photographs taken by

Defendant in 2020 – two years before encountering any CHS:




         Likewise, in November of 2021 – one year before he met any FBI CHSs – he posted

the below photograph on Discord, claiming “This isn’t even half of my Muslim killing

arsenal,” followed by, “Christchurch mosque 1 moment.”:




1
    A search of the defendant’s two cell phones after his arrest revealed photographs of the
weapons used in the 2019 Christchurch mass shooting in New Zealand.
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Ultimately, the defendant is a heavily armed, angry, socially isolated, and bullied

marksman who harbors a grievance against law enforcement, racial and religious

minorities, members of the LGBTQ community, and virtually anyone who does not fit in

with his vision of society. The defendant presents a unique danger to the community and

the sentence imposed in this case should reflect this reality.
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                                   CONCLUSION

      For all these reasons and those set out in the Government’s Position on Sentencing

at ECF Doc. 87, the United States respectfully asks this Court to sentence Defendant to a

term of imprisonment of ten years, followed by a three-year term of supervised release.

Dated: January 18, 2024                  Respectfully submitted,

                                         ANDREW M. LUGER
                                         United States Attorney

                                         s/ Andrew R. Winter

                                         BY: ANDREW R. WINTER
                                         Assistant United States Attorney
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